              So Ordered.

Dated: April 28th, 2022




                       UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF WASHINGTON

     In re:                                    Lead Case No. 21-00141-WLH11

     EASTERDAY RANCHES, INC., et al., ORDER APPROVING
                                      STIPULATION RESOLVING
                   Debtor.            MOTION FOR RELIEF FROM
                                      AUTOMATIC STAY

           THIS MATTER came before the court on Santander Consumer USA Inc.
    dba Chrysler Capital’s motion for relief from the automatic stay imposed by 11
    U.S.C. § 362. See ECF No. 1437. Based on the motion and the parties’
    stipulation, it is ORDERED that:

          The stipulation, the terms of which are reflected in the document at ECF No.
    1590, is approved. The parties are bound by the terms set forth therein.

                                     ///End of Order///




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